             Case 1:20-cv-03071-SAB                  ECF No. 12          filed 09/23/20     PageID.76 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                  for the_                                      U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                    ALBERTO ALVAREZ,                                                                          Sep 23, 2020
                                                                                                               SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:20-CV-03071-SAB
YAKIMA COUNTY DEPARTMENT OF CORRECTIONS,                             )
YAKIMA COUNTY, CHIEF HIMES, CORPORAL CHOATE,                         )
CORRECTIONS OFFICER CAMPOS, LT. C. FREEBURG,
LT. BILL SPLAWN, SGT. M. KEAGLE, AND SGT. M. BLAKE,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion to Voluntarily Dismiss Complaint (ECF No. 9) is GRANTED. The Complaint is DISMISSED
’
              WITHOUT PREJUDICE.
              Judgment of Dismissal Without Prejudice is entered.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             Stanley A. Bastian                                              on a motion for
      Voluntary Dismissal (ECF No. 9)


Date: 09/23/2020                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
